            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                        CRIMINAL NO. 3:04CR190


UNITED STATES OF AMERICA            )
                                    )
                                    )
            VS.                     )            ORDER
                                    )
                                    )
THOMAS L. JACOBS                    )
                                    )


      THIS MATTER is before the Court on Defendant’s appeal from the

Magistrate Judge’s ruling denying his motion to withdraw his guilty plea.

      The Court has reviewed the Defendant’s motion and finds that there are

no grounds set forth to support a withdrawal of the plea. For the reasons set

forth in the Government’s opposition brief, the Court finds that Defendant’s

motion should be denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to

withdraw guilty plea is hereby DENIED.




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                    Signed: November 8, 2005




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